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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY



IN RE: JOHNSON & JOHNSON                      No. 3:16-md-02738-MAS-RLS
TALCUM POWDER PRODUCTS
MARKETING, SALES PRACTICES,                    [PROPOSED] ORDER GRANTING
AND PRODUCTS LIABILITY                         DEFENDANTS’ MOTION TO
LITIGATION                                     EXCLUDE THE OPINIONS OF
                                               DRS. DAVID KESSLER, LAURA
This Document Relates To All Cases             PLUNKETT, WILLIAM SAGE,
                                               AND GEORGE NEWMAN



       THIS MATTER having been brought before the Court by Defendants

 Johnson & Johnson and LLT Management, LLC (“Defendants”) for an order

 that excludes Drs. Kessler’s, Plunkett’s, Sage’s, and Newman’s opinions in

 full; and for good cause shown;

      IT IS on this _______ day of ________________________, 2024 hereby

      ORDERED as follows:

      1. Defendants’ Motion to Exclude the Opinions of Drs. David

         Kessler, Laura Plunkett, William Sage, and George Newman is

         hereby GRANTED; and

      2. Drs. Kessler’s, Plunkett’s, Sage’s, and Newman’s opinions are

         hereby excluded in their entirety.

                                              ___________________________
                                              Hon. Michael A. Shipp, U.S.D.J.
